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 1                                                                      Hon. Richard A. Jones

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 3

 4                             UNITED STATES DISTICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 5
                                       AT SEATTLE
 6
      CARLOS TAPANG,                                CASE NO. C18-167 RAJ
 7                             Plaintiff(s),        ORDER REGARDING
 8              v.                                  FRCP 26(f) CONFERENCE,
                                                    INITIAL DISCLOSURES,
 9    T-MOBILE USA, INC.,                           AND JOINT STATUS REPORT

10                             Defendant(s).

11
                                  I. INITIAL SCHEDULING DATES
12
           The Court sets the following initial case scheduling deadlines:
13

14         Deadline to Conduct FRCP 26(f) Conference:              March 21, 2018

15         Deadline to Exchange Initial Disclosures
           Pursuant to FRCP 26(a)(1)
16         (Initial Disclosures are not to be filed):              March 28, 2018

17         Deadline to File Combined Joint Status Report
           and Discovery Plan as Required by FRCP 26(f)
18         and Local Civil Rule 26(f):                             April 4, 2018
19         The deadlines above may be extended only by the Court. Any request for an
20 extension of these deadlines should be made by email to Victoria Ericksen, Courtroom

21 Deputy, at victoria_ericksen@wawd.uscourts.gov. The parties who have already
     appeared in this matter are required to meet and confer before contacting the Court to
22
     request an extension.
23



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 1          If this case involves claims which are exempt from the requirements of FRCP

 2 26(a) and 26(f), please notify Victoria Ericksen, Courtroom Deputy, at
     victoria_ericksen@wawd.uscourts.gov.
 3
                       II. JUDGE-SPECIFIC PROCEDURAL INFORMATION
 4
            Counsel and pro se parties are directed to review Judge Jones’ chambers
 5 procedures at http://www.wawd.uscourts.gov/judges/jones-procedures. Counsel and pro

 6 se parties are expected to abide by the requirements set forth therein. Failure to do
     so may result in the imposition of sanctions.
 7
            Links to Local Rules, Electronic Filing Procedures for Civil and Criminal Cases,
 8
     court forms, instruction sheets, and General Orders, can be found on the Court’s website
 9 at www.wawd.uscourts.gov.

10                       III. JOINT STATUS REPORT & DISCOVERY PLAN

11          All counsel and any pro se parties are directed to confer and provide the Court
     with a combined Joint Status Report and Discovery Plan (the “Report”) by
12
     April 4, 2018. This conference shall be by direct and personal communication, whether
13
     that be a face-to-face meeting or a telephonic conference. The Report will be used in
14 setting a schedule for the prompt completion of the case. It must contain the following

15 information by corresponding paragraph numbers:
            1.      A statement of the nature and complexity of the case.
16
            2.      A proposed deadline for joining additional parties.
17
            3.      The parties have the right to consent to assignment of this case to a full
18 time United States Magistrate Judge, pursuant to 28 U.S.C. §636(c) and Local Rule MJR

19 13, to conduct all proceedings. The Western District of Washington assigns a wide range
     of cases to Magistrate Judges. The Magistrate Judges of this district thus have significant
20
     experience in all types of civil matters filed in our court. The parties should indicate
21
     whether they agree that the Honorable Brian A. Tsuchida may conduct all proceedings
22 including trial and the entry of judgment. When responding to this question, the parties

23 should only respond "yes" or "no.” Individual party responses should not be provided.



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 1 A "yes" response should be indicated only if all parties consent. Otherwise, a "no"

 2 response should be provided.
            4.      A discovery plan that states, by corresponding paragraph letters (A, B, etc.),
 3
     the parties’ views and proposals on all items set forth in Fed. R. Civ. P. 26(f)(3), which
 4
     includes the following topics:
 5                  (A)    the exchange of initial disclosures;
 6                  (B)    subjects, timing, and potential phasing of discovery;
                    (C)    electronically stored information;
 7
                    (D)    privilege issues;
 8
                    (E)    proposed limitations on discovery; and
 9                  (F)    the need for any discovery related orders.
10          5.      The parties’ views, proposals, and agreements, by corresponding paragraph

11 letters (A, B, etc.) on all items set forth in Local Civil Rule 26(f)(1), which includes the
     following topics:
12
                    (A)    prompt case resolution;
13
                    (B)    alternative dispute resolution;
14                  (C)    The existence of any related cases pending in this or other
                           jurisdictions and a proposal for how to handle them;
15
                    (D)    discovery management;
16                  (E)    anticipated discovery sought;
17                  (F)    phasing of motions;

18                  (G)    preservation of discoverable information;
                    (H)    privilege issues;
19
                    (I)    Model Protocol for Discovery of ESI; and
20
                    (J)    alternatives to Model Protocol.
21          6.      The date by which discovery can be completed (must be at least 120 days
22 prior to the proposed trial date).
            7.      Whether the case should be bifurcated by trying the liability issues before
23
     the damages issues, or bifurcated in any other way.

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 1          8.      Whether the parties intend to utilize the Individualized Trial Program set

 2 forth in Local Civil Rule 39.2 or any ADR options set forth in Local Civil Rule 39.1.
            9.      Any other suggestions for shortening or simplifying the case.
 3
            10.     The date the case will be ready for trial. The Court expects that most civil
 4
     cases will be ready for trial within a year after filing the Joint Status Report and
 5 Discovery Plan.

 6          11.     Whether the trial will be jury or non-jury.
            12.     The number of trial days required.
 7
            13.     The names, addresses, and telephone numbers of all trial counsel.
 8
            14.     The dates on which trial counsel may have complications to be considered
 9 in setting a trial date.

10          15.     The dates on which each and every non-governmental corporate party filed

11 its corporate disclosure statement pursuant to FRCP 7.1 and LCR 7.1.
            16.     If, on the due date of the Report, all defendant(s) or respondent(s) have not
12
     been served, counsel for the plaintiff shall advise the Court when service will be effected,
13
     why it was not made earlier, and shall provide a proposed schedule for the required FRCP
14 26(f) conference and FRCP 26(a) initial disclosures.

15          If the parties are unable to agree on any part of the Report, they may answer in
     separate paragraphs. No separate reports are to be filed.
16
                                  IV. PLAINTIFF'S RESPONSIBILITY
17
            This Order is issued at the outset of the case, and a copy is sent by the clerk to
18 counsel for plaintiff (or plaintiff, if pro se) and any defendants who have appeared.

19 Plaintiff's counsel (or plaintiff, if pro se) is directed to serve copies of this Order on all
     parties who appear after this Order is filed. Such service shall be accomplished within ten
20
     (10) after each appearance. Plaintiff's counsel (or plaintiff, if pro se) will be responsible
21
     for starting the communications needed to comply with this Order.
22 ///

23 ///



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 1            V. EARLY SETTLEMENT CONSIDERATION AND NOTIFICATION

 2         If settlement is achieved, counsel shall immediately notify Victoria Ericksen,
     Courtroom Deputy, at victoria_ericksen@wawd.uscourts.gov.
 3
           The parties are responsible for complying with the terms of this Order. The Court
 4
     may impose sanctions on any party who fails to comply fully with this Order.
 5         DATED this 7th day of March, 2018.
 6

 7
                                                    A
                                                    The Honorable Richard A. Jones
 8                                                  United States District Judge

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